Case 5:19-cv-02456-FMO-SP Document 1 Filed 12/20/19 Page 1 of 17 Page ID #:1



 1   DAPEER ROSENBLIT                            SHAMIS & GENTILE, P.A.
 2   LITVAK, LLP                                 Garrett O. Berg, Esq.
     William Litvak                              (pro hac vice forthcoming)
 3   (Cal. Bar No. 90533)                        gberg@shamisgentile.com
     wlitvak@drllaw.com                          14 NE 1st Avenue, Suite 1205
 4   11500 W. Olympic Blvd. Suite 550            Miami, Florida 33132
 5   Los Angeles, California 90064               (t) (305) 479-2299
     (t) (310) 477-5575
 6   (f) (310) 477-7090
 7   IJH LAW
     Ignacio J. Hiraldo, Esq.
 8   (pro hac vice forthcoming)
 9   ijhiraldo@ijhlaw.com
     14 NE First Ave. 10th Floor
10   Miami, FL 33132
     (t) (786) 351-8709
11
12   Attorneys for Plaintiff,
     JAMAL JOHNSON, on behalf of herself and all others similarly situated
13
                         UNITED STATES DISTRICT COURT
14                      CENTRAL DISTRICT OF CALIFORNIA
15
     JAMAL JOHNSON, individually and on          CASE NO.: 5:19-cv-02456
16   behalf of all others similarly situated,
                     Plaintiff,                  CLASS ACTION
17
18   vs.                                         COMPLAINT FOR VIOLATIONS
                                                 OF THE TELEPHONE
19   MOSS BROS. AUTO GROUP, INC.,                CONSUMER PROTECTION ACT,
     California Corporation,                     47 U.S.C. §§ 227, ET SEQ. (TCPA)
20
                    Defendant.
21                                               JURY TRIAL DEMANDED
22
23
                              CLASS ACTION COMPLAINT
24
           1.    Plaintiff, Jamal Johnson, brings this action against Defendant, Moss.
25
     Bros. Auto Group Inc., to secure redress for violations of the Telephone Consumer
26
     Protection Act (“TCPA”), 47 U.S.C. § 227.
27
28
                                             1
                                  CLASS ACTION COMPLAINT
Case 5:19-cv-02456-FMO-SP Document 1 Filed 12/20/19 Page 2 of 17 Page ID #:2



 1                                NATURE OF THE ACTION

 2         2.       This is a putative class action pursuant to the Telephone Consumer

 3   Protection Act, 47 U.S.C. §§ 227, et seq. (the “TCPA”).

 4         3.       Defendant is a car dealership. To promote its services, Defendant

 5   engages in aggressive unsolicited marketing, harming thousands of consumers in

 6   the process.

 7         4.       Through this action, Plaintiff seeks injunctive relief to halt Defendant’s

 8   illegal conduct, which has resulted in the invasion of privacy, harassment,

 9   aggravation, and disruption of the daily life of thousands of individuals. Plaintiff

10   also seeks statutory damages on behalf of himself and members of the Class, and

11   any other available legal or equitable remedies.

12                               JURISDICTION AND VENUE

13         5.       This Court has federal question subject matter jurisdiction over this

14   action pursuant to 28 U.S.C. § 1331, as the action arises under the Telephone

15   Consumer Protection Act, 47 U.S.C. §§ 227, et seq. (“TCPA”).

16         6.       The Court has personal jurisdiction over Defendant and venue is
17   proper in this District because Defendant directs, markets, and provides its business
18   activities to this District, and because Defendant’s unauthorized marketing scheme
19   was directed by Defendant to consumers in this District, including Plaintiff.
20                                           PARTIES
21         7.       Plaintiff is a natural person who, at all times relevant to this action,
22   was a resident of Riverside County, California.
23         8.       Defendant is a California corporation whose principal office is located
24   at 8146 Auto Drive, Riverside California 92504. Defendant directs, markets, and
25   provides its business activities throughout the United States, including throughout
26   the state of California.
27   //
28   //
                                               2
                                    CLASS ACTION COMPLAINT
Case 5:19-cv-02456-FMO-SP Document 1 Filed 12/20/19 Page 3 of 17 Page ID #:3



 1         9.     Unless otherwise indicated, the use of Defendant’s name in this

 2   Complaint includes all agents, employees, officers, members, directors, heirs,

 3   successors, assigns, principals, trustees, sureties, subrogees, representatives,

 4   vendors, and insurers of Defendant.

 5                                         THE TCPA

 6         10.    The TCPA prohibits: (1) any person from calling a cellular telephone

 7   number; (2) using an automatic telephone dialing system; (3) without the recipient’s

 8   prior express consent. 47 U.S.C. § 227(b)(1)(A).

 9         11.    The TCPA defines an “automatic telephone dialing system” (“ATDS”)

10   as “equipment that has the capacity - (A) to store or produce telephone numbers to

11   be called, using a random or sequential number generator; and (B) to dial such

12   numbers.” 47 U.S.C. § 227(a)(1).

13         12.    In an action under the TCPA, a plaintiff must only show that the

14   defendant “called a number assigned to a cellular telephone service using an

15   automatic dialing system or prerecorded voice.” Breslow v. Wells Fargo Bank,

16   N.A., 857 F. Supp. 2d 1316, 1319 (S.D. Fla. 2012), aff'd, 755 F.3d 1265 (11th Cir.
17   2014).
18         13.    The Federal Communications Commission (“FCC”) is empowered to
19   issue rules and regulations implementing the TCPA. According to the FCC’s
20   findings, calls in violation of the TCPA are prohibited because, as Congress found,
21   automated or prerecorded telephone calls are a greater nuisance and invasion of
22   privacy than live solicitation calls, and such calls can be costly and inconvenient.
23   The FCC also recognized that wireless customers are charged for incoming calls
24   whether they pay in advance or after the minutes are used. Rules and Regulations
25   Implementing the Telephone Consumer Protection Act of 1991, CG Docket No. 02-
26   278, Report and Order, 18 FCC Rcd 14014 (2003).
27   //
28
                                             3
                                  CLASS ACTION COMPLAINT
Case 5:19-cv-02456-FMO-SP Document 1 Filed 12/20/19 Page 4 of 17 Page ID #:4



 1         14.    In 2012, the FCC issued an order tightening the restrictions for

 2   automated telemarketing calls, requiring “prior express written consent” for such

 3   calls to wireless numbers. See In the Matter of Rules & Regulations Implementing

 4   the Tel. Consumer Prot. Act of 1991, 27 F.C.C.R. 1830, 1838 ¶ 20 (Feb. 15, 2012)

 5   (emphasis supplied).

 6         15.    To obtain express written consent for telemarketing calls, a defendant

 7   must establish that it secured the plaintiff’s signature in a form that gives the

 8   plaintiff a “‘clear and conspicuous disclosure’ of the consequences of providing the

 9   requested consent….and having received this information, agrees unambiguously to

10   receive such calls at a telephone number the [plaintiff] designates.” In re Rules &

11   Regulations Implementing the Tel. Consumer Prot. Act of 1991, 27 F.C.C.R. 1830,

12   1837 ¶ 18, 1838 ¶ 20, 1844 ¶ 33, 1857 ¶ 66, 1858 ¶ 71 (F.C.C. Feb. 15, 2012).

13         16.    The TCPA regulations promulgated by the FCC define

14   “telemarketing” as “the initiation of a telephone call or message for the purpose of

15   encouraging the purchase or rental of, or investment in, property, goods, or

16   services.” 47 C.F.R. § 64.1200(f)(12). In determining whether a communication
17   constitutes telemarketing, a court must evaluate the ultimate purpose of the
18   communication. See Golan v. Veritas Entm't, LLC, 788 F.3d 814, 820 (8th Cir.
19   2015).
20         17.    “Neither the TCPA nor its implementing regulations ‘require an
21   explicit mention of a good, product, or service’ where the implication of an
22   improper purpose is ‘clear from the context.’” Id. (citing Chesbro v. Best Buy
23   Stores, L.P., 705 F.3d 913, 918 (9th Cir. 2012)).
24         18.    “‘Telemarketing’ occurs when the context of a call indicates that it was
25   initiated and transmitted to a person for the purpose of promoting property, goods,
26   or services.” Golan, 788 F.3d at 820 (citing 47 C.F.R. § 64.1200(a)(2)(iii); 47
27   C.F.R. § 64.1200(f)(12); In re Rules and Regulations Implementing the Telephone
28
                                             4
                                  CLASS ACTION COMPLAINT
Case 5:19-cv-02456-FMO-SP Document 1 Filed 12/20/19 Page 5 of 17 Page ID #:5



 1   Consumer Protection Act of 1991, 18 F.C.C. Rcd at 14098 ¶ 141, 2003 WL

 2   21517853, at *49).

 3         19.    The FCC has explained that calls motivated in part by the intent to sell

 4   property, goods, or services are considered telemarketing under the TCPA. See In

 5   re Rules and Regulations Implementing the Telephone Consumer Protection Act of

 6   1991, 18 FCC Rcd. 14014, ¶¶ 139-142 (2003). This is true whether call recipients

 7   are encouraged to purchase, rent, or invest in property, goods, or services during the

 8   call or in the future. Id.

 9         20.    In other words, offers “that are part of an overall marketing campaign

10   to sell property, goods, or services constitute” telemarketing under the TCPA. See

11   In re Rules and Regulations Implementing the Telephone Consumer Protection Act

12   of 1991, 18 FCC Rcd. 14014, ¶ 136 (2003).

13         21.    If a call is not deemed telemarketing, a defendant must nevertheless

14   demonstrate that it obtained the plaintiff’s prior express consent. See In the Matter

15   of Rules and Regulations Implementing the Tel. Consumer Prot. Act of 1991, 30

16   FCC Rcd. 7961, 7991-92 (2015) (requiring express consent “for non-telemarketing
17   and non-advertising calls”).
18         22.    Further, the FCC has issued rulings and clarified that consumers are
19   entitled to the same consent-based protections for text messages as they are for calls
20   to wireless numbers. See Satterfield v. Simon & Schuster, Inc., 569 F.3d 946, 952
21   (9th Cir. 2009) (The FCC has determined that a text message falls within the
22   meaning of “to make any call” in 47 U.S.C. § 227(b)(1)(A)); Toney v. Quality Res.,
23   Inc., 2014 WL 6757978, at *3 (N.D. Ill. Dec. 1, 2014) (Defendant bears the burden
24   of showing that it obtained Plaintiff's prior express consent before sending him the
25   text message). (emphasis added).
26         As recently held by the United States Court of Appeals for the Ninth Circuit:
27   “Unsolicited telemarketing phone calls or text messages, by their nature, invade the
28   privacy and disturb the solitude of their recipients. A plaintiff alleging a violation
                                               5
                                    CLASS ACTION COMPLAINT
Case 5:19-cv-02456-FMO-SP Document 1 Filed 12/20/19 Page 6 of 17 Page ID #:6



 1   under the TCPA ‘need not allege any additional harm beyond the one Congress has

 2   identified.’” Van Patten v. Vertical Fitness Grp., No. 14-55980, 2017 U.S. App.

 3   LEXIS 1591, at *12 (9th Cir. May 4, 2016) (quoting Spokeo, Inc. v. Robins, 136 S.

 4   Ct. 1540, 1549 (2016) (emphasis original)).

 5                              FACTS
           “RINGLESS” VOICEMAILS ARE REGULATED BY THE TCPA
 6
           23.    “Ringless” voicemail technology was created, and is presently being
 7
     used by unscrupulous companies, including Defendant, in an attempt to circumvent
 8
     the TCPA.
 9
           24.    Unfortunately for Defendant, “ringless” voicemails are regulated by
10
     the TCPA and it is liable under the TCPA for invading consumers’ privacy rights
11
     by utilizing such technology when engaging in its telemarketing practices.
12
           25.    “Ringless” voicemail technology works by delivering prerecorded
13
     messages en masse to the voicemail boxes of cellular subscribers.
14
           26.    However, calls made by utilizing this technology are not actually
15
     “ringless” since the prerecorded message that results triggers an audible notification
16
     to the consumer once the message is received.
17
           27.    Further, the method by which “ringless” voicemails are transmitted to
18
     cellular telephones are essentially the same as the method for transmitting text
19
     messages to cellular phones. This is significant because consumers are entitled to
20
     the same consent-based protections for text messages as they are for voice calls to
21
     wireless numbers. See Satterfield, 569 F.3d at 952 (noting that the FCC has
22
     determined that a text message falls within the meaning of “to make any call” in 47
23
     U.S.C. § 227(b)(1)(A)); Toney v. Quality Res., Inc., 2014 WL 6757978, at *3 (N.D.
24
     Ill. Dec. 1, 2014) (holding that defendant bears the burden of showing that it
25
     obtained plaintiff's prior express consent before sending her a text message).
26
     //
27
     //
28
                                            6
                                 CLASS ACTION COMPLAINT
Case 5:19-cv-02456-FMO-SP Document 1 Filed 12/20/19 Page 7 of 17 Page ID #:7



 1         28.    As illustrated below, “ringless” voicemails, including the prerecorded

 2   messages at issue in this case, are delivered just like text messages by “establishing

 3   a direct Internet-based computer-to-computer data connection to the respective

 4   voicemails systems of the cellular carries. As part of the protocol for this data

 5   communication, subscribers’ cellular telephone numbers are used to identify each

 6   voicemail box so that the pre-recorded voice messages are inserted into each

 7   voicemail box en masse.”1

 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26   1Comments Opposing the Petition for Declaratory Ruling and Waiver by National
     Consumer Law Center, CG Docket No. 02-278, DA 17-364 (May 18, 2017)
27   available at https://www.fcc.gov/ecfs/filing/105180243621422 (last accessed on
28   December 7, 2017).
                                            7
                                 CLASS ACTION COMPLAINT
Case 5:19-cv-02456-FMO-SP Document 1 Filed 12/20/19 Page 8 of 17 Page ID #:8



 1         29.    Unlike robocalls and text messages, however, consumers are left

 2   powerless to block “ringless” voicemails from being transmitted to their phones.

 3   Thus, a consumer’s voicemail box could be rendered useless by just a handful of

 4   companies using the technology to market their businesses.

 5         30.    The purpose of a “ringless” voicemail is to communicate with or try to

 6   get into communication with a consumer through the consumer’s cellular telephone.

 7         31.    The FCC has previously rejected the argument that technologies such

 8   as “ringless” voicemails are not regulated by the TCPA because they are not

 9   traditional “calls.” Particularly, in the context of Internet-to-phone text messaging,

10   which is essentially the same technology at issue in this case, the FCC has ruled:

11                From the recipient’s perspective, Internet-to-phone text
                  messaging is functionally equivalent to phone-to-phone
12                text messaging, which the Commission has already
13                confirmed falls within the TCPA’s protection. And the
                  potential harm is identical to consumers; unwanted text
14                messages pose the same cost and annoyance to consumers,
15                regardless of whether they originate from a phone or the
                  Internet. Finding otherwise—that merely adding a domain
16                to the telephone number means the number has not been
17                “dialed”—when the effect on the recipient is identical,
                  would elevate form over substance, thwart Congressional
18                intent that evolving technologies not deprive mobile
19                consumers of the TCPA’s protections, and potentially
                  open a floodgate of unwanted text messages to wireless
20                consumers.2
21
                 FAILED FCC “RINGLESS” VOICEMAIL PETITION
22
           32.    On January 9, 2017, a putative class action lawsuit under the TCPA
23
     was filed against TT of Pine Ridge, Inc., a vehicle dealership located in Naples,
24
     Florida, styled Mahoney v. TT of Pine Ridge, Inc., Case No. 9:17-cv-80029-DMM
25
     (S.D. Fla. 2017) (“Mahoney”).
26
27   2See In the Matter of Rules and Regulations Implementing the Tel. Consumer Prot.
28   Act of 1991, 30 FCC Rcd. 7961 (2015)
                                            8
                                 CLASS ACTION COMPLAINT
Case 5:19-cv-02456-FMO-SP Document 1 Filed 12/20/19 Page 9 of 17 Page ID #:9



 1         33.     At issue in Mahoney was the use of Stratics’ voicemail platform by TT

 2   of Pine Ridge to promote its dealership’s inventory and related services. [See id. at

 3   ECF No. 1].

 4         34.     On March 31, 2017, All About the Message, LLC, a distributor for

 5   Stratics’ ringless voicemail platform, filed a Petition for Declaratory Ruling with

 6   the FCC seeking a declaration that the TCPA does not apply to “ringless”

 7   voicemails (the “FCC RVM Petition”). The FCC RVM Petition appears to have

 8   been initiated and/or coordinated by TT of Pine Ridge as a Motion for Stay pending

 9   resolution of the FCC RVM Petition was filed on the same by TT of Pine Ridge in

10   the Mahoney lawsuit. [See id. at ECF No. 33].

11         35.     The FCC RVM petition received significant media attention,3 and

12   fierce opposition by members of Congress, State Attorney Generals, and consumer

13   protection groups, including the National Consumer Law Center.

14         36.     For example, several members of Congress wrote a letter to the

15   Chairman of the FCC describing “ringless” voicemails as “a clear-cut attempt at an

16   end-run around legal and technological protections against spam and unwanted
17   phone communications.”4
18         37.     Similarly, the Attorney Generals for Massachusetts, New York, and
19   Kentucky filed an opposition to the FCC RVM Petition stating in pertinent part:
20                 Ringless voicemails are prerecorded calls within the
                   meaning of the TCPA. All About the Message seeks to
21                 avoid this conclusion by stating that ringless voicemail
22                 “bypasses the wireless telephone and telephone subscriber
                   altogether,” and by narrowly construing its conduct to
23
24   3 See e.g. https://www.bostonglobe.com/business/2017/05/24/you-can-sound-off-
     fcc-about-ringless-voicemail/buOKWDgr06Fxb1m0qk2ZCK/story.html and
25   https://www.nytimes.com/2017/06/03/business/phone-ringless-voicemail-fcc-
26   telemarketer.html.
     4 See Correspondence dated June 21, 2017 available at
27   https://www.fcc.gov/ecfs/filing/1072811351675; (last accessed on December 7,
28   2017).
                                            9
                                 CLASS ACTION COMPLAINT
Case 5:19-cv-02456-FMO-SP Document 1 Filed 12/20/19 Page 10 of 17 Page ID #:10



   1                 include only the delivery of the voicemail message to a
                     server and not to the consumer. This is a distinction
   2                 without a difference.5
   3
              38.    Ultimately, on June 20, 2017, the FCC RVM Petition was withdrawn
   4
       after a class-wide settlement was reached in Mahoney, and the FCC did not issue a
   5
       ruling with respect to the petition.
   6
              39.    Upon information and belief, Defendant was aware of the FCC RVM
   7
       Petition and its withdrawal prior to sending the subject prerecorded telemarketing
   8
       calls to Plaintiff and members of the Class.
   9
                        FACTS SPECIFIC TO PLAINTIFF JAMAL JOHNSON
 10
              40.    Beginning on or about February 2019 and continuing up through
 11
       October 2019, Defendant transmitted the following prerecorded telemarketing call
 12
       to Plaintiff’s cellular telephone number ending in 5097 (the “5097 Number”):
 13
                     Hi this is Patrick with Moss Bros Chrysler Dodge Jeep
 14                  Ram in marina valley. I’m calling once again because I’m
 15                  seeing a high demand for your vehicle and I was hoping
                     you would be willing to sell it. My manager has approved
 16                  me to pay top dollars, so we need your vehicle in the
 17                  inventory. If you’re interested, please call me back. Again,
                     my name is Patrick my number is 888-330-4089, again,
 18                  888-330-4089. Talk to you soon.
 19
              41.    Defendant’s prerecorded telemarketing call constitutes telemarketing
 20
       because it encouraged the future purchase, sell, or investment in property, goods,
 21
       and/or services, i.e., the purchase of Plaintiff’s vehicle which defendant intends to
 22
       then sell for profit.
 23
       //
 24
 25
 26    5Comments Opposing the Petition for Declaratory Ruling and Waiver by
       Massachusetts, New York, and Kentucky, CG Docket No. 02-278 (June 2, 2017)
 27    available at https://www.fcc.gov/ecfs/filing/10602714924246; (last accessed on
 28    December 7, 2017).
                                               10
                                    CLASS ACTION COMPLAINT
Case 5:19-cv-02456-FMO-SP Document 1 Filed 12/20/19 Page 11 of 17 Page ID #:11



   1         42.    The prerecorded telemarketing call originated from a telephone

   2   number owned and/or operated by or on behalf of Defendant.

   3         43.    Plaintiff received the subject prerecorded telemarketing call within this

   4   District and, therefore, Defendant’s violation of the TCPA occurred within this

   5   District. Upon information and belief, Defendant caused other prerecorded

   6   telemarketing calls to be sent to individuals residing within this judicial district.

   7         44.    At no point in time did Plaintiff provide Defendant with his express

   8   consent to be contacted using an ATDS.

   9         45.    Plaintiff is the subscriber and sole user of the 5097 Number and is

 10    financially responsible for phone service to the 5097 Number.

 11          46.    Defendant’s unsolicited prerecorded message caused Plaintiff actual

 12    harm, including invasion of his privacy, aggravation, annoyance, intrusion on

 13    seclusion, trespass, and conversion. Defendant’s prerecorded message also

 14    inconvenienced Plaintiff and caused disruption to his daily life. See Patriotic

 15    Veterans, Inc. v. Zoeller, No. 16-2059, 2017 WL 25482, at *2 (7th Cir. Jan. 3,

 16    2017) (“Every call uses some of the phone owner's time and mental energy, both of
 17    which are precious.”).
 18                                  CLASS ALLEGATIONS
 19          PROPOSED CLASS
 20          47.    Plaintiff brings this case as a class action pursuant to Fed. R. Civ. P.
 21    23, on behalf of himself and all others similarly situated.
 22          48.    Plaintiff brings this case on behalf of the Class defined as follows:
 23                 All persons within the United States who, within the four
                    years prior to the filing of this Complaint, were sent a
 24                 prerecorded message, from Defendant or anyone on
 25                 Defendant’s behalf, to said person’s cellular telephone
                    number, without emergency purpose and without the
 26                 recipient’s prior express written consent.
 27    //
       ///
 28
                                               11
                                    CLASS ACTION COMPLAINT
Case 5:19-cv-02456-FMO-SP Document 1 Filed 12/20/19 Page 12 of 17 Page ID #:12



   1         49.    Defendant and its employees or agents are excluded from the Class.

   2   Plaintiff does not know the number of members in the Class but believes the Class

   3   members number in the several thousands, if not more.

   4         NUMEROSITY

   5         50.    Upon information and belief, Defendant has placed automated calls to

   6   cellular telephone numbers belonging to thousands of consumers throughout the

   7   United States without their prior express consent. The members of the Class,

   8   therefore, are believed to be so numerous that joinder of all members is

   9   impracticable.

 10          51.    The exact number and identities of the members of the Class are

 11    unknown at this time and can only be ascertained through discovery. Identification

 12    of the Class members is a matter capable of ministerial determination from

 13    Defendant’s call records.

 14          COMMON QUESTIONS OF LAW AND FACT

 15          52.    There are numerous questions of law and fact common to members of

 16    the Class which predominate over any questions affecting only individual members
 17    of the Class. Among the questions of law and fact common to the members of the
 18    Class are:
 19                 a)    Whether Defendant made non-emergency calls to Plaintiff’s and
 20                       Class members’ cellular telephones using an ATDS;
 21                 b)    Whether Defendant can meet its burden of showing that it
 22                       obtained prior express written consent to make such calls;
 23                 c)    Whether Defendant’s conduct was knowing and willful;
 24                 d)    Whether Defendant is liable for damages, and the amount of
 25                       such damages; and
 26                 e)    Whether Defendant should be enjoined from such conduct in the
 27                       future.
 28
                                               12
                                    CLASS ACTION COMPLAINT
Case 5:19-cv-02456-FMO-SP Document 1 Filed 12/20/19 Page 13 of 17 Page ID #:13



   1         53.    The common questions in this case are capable of having common

   2   answers. If Plaintiff’s claim that Defendant routinely transmits calls to telephone

   3   numbers assigned to cellular telephone services is accurate, Plaintiff and the Class

   4   members will have identical claims capable of being efficiently adjudicated and

   5   administered in this case.

   6         TYPICALITY

   7         54.    Plaintiff’s claims are typical of the claims of the Class members, as

   8                they are all based on the same factual and legal theories.

   9         PROTECTING THE INTERESTS OF THE CLASS MEMBERS

 10          55.    Plaintiff is a representative who will fully and adequately assert and

 11    protect the interests of the Class, and has retained competent counsel. Accordingly,

 12    Plaintiff is an adequate representative and will fairly and adequately protect the

 13    interests of the Class.

 14          PROCEEDING VIA CLASS ACTION IS SUPERIOR AND ADVISABLE

 15          56.    A class action is superior to all other available methods for the fair and

 16    efficient adjudication of this lawsuit, because individual litigation of the claims of
 17    all members of the Class is economically unfeasible and procedurally
 18    impracticable. While the aggregate damages sustained by the Class are in the
 19    millions of dollars, the individual damages incurred by each member of the Class
 20    resulting from Defendant’s wrongful conduct are too small to warrant the expense
 21    of individual lawsuits. The likelihood of individual Class members prosecuting
 22    their own separate claims is remote, and, even if every member of the Class could
 23    afford individual litigation, the court system would be unduly burdened by
 24    individual litigation of such cases.
 25          57.    The prosecution of separate actions by members of the Class would
 26    create a risk of establishing inconsistent rulings and/or incompatible standards of
 27    conduct for Defendant. For example, one court might enjoin Defendant from
 28    performing the challenged acts, whereas another may not. Additionally, individual
                                               13
                                    CLASS ACTION COMPLAINT
Case 5:19-cv-02456-FMO-SP Document 1 Filed 12/20/19 Page 14 of 17 Page ID #:14



   1   actions may be dispositive of the interests of the Class, although certain class

   2   members are not parties to such actions.

   3                                          COUNT I
                             Violations of the TCPA, 47 U.S.C. § 227(b)
   4                           (On Behalf of Plaintiff and the Class)
   5
             58.    Plaintiff re-alleges and incorporates the foregoing allegations as if fully
   6
       set forth herein.
   7
             59.    It is a violation of the TCPA to make “any call (other than a call made
   8
       for emergency purposes or made with the prior express consent of the called party)
   9
       using any automatic telephone dialing system … to any telephone number assigned
 10
       to a … cellular telephone service ….” 47 U.S.C. § 227(b)(1)(A)(iii).
 11
             60.    Defendant – or third parties directed by Defendant – used equipment
 12
       having the capacity to dial numbers without human intervention to make non-
 13
       emergency telephone calls to the cellular telephones of Plaintiff and the other
 14
       members of the Class defined below.
 15
             61.    These calls were made without regard to whether or not Defendant had
 16
       first obtained express permission from the called party to make such calls. In fact,
 17
       Defendant did not have prior express consent to call the cell phones of Plaintiff and
 18
       the other members of the putative Class when its calls were made.
 19
             62.    Defendant has, therefore, violated § 227(b)(1)(A)(iii) of the TCPA by
 20
       using an automatic telephone dialing system to make non-emergency telephone
 21
       calls to the cell phones of Plaintiff and the other members of the putative Class
 22
       without their prior express written consent.
 23
             63.    Defendant knew that it did not have prior express consent to make
 24
       these calls, and knew or should have known that it was using equipment that at
 25
       constituted an automatic telephone dialing system. The violations were therefore
 26
       willful or knowing.
 27
 28
                                               14
                                    CLASS ACTION COMPLAINT
Case 5:19-cv-02456-FMO-SP Document 1 Filed 12/20/19 Page 15 of 17 Page ID #:15



   1         64.    As a result of Defendant’s conduct and pursuant to § 227(b)(3) of the

   2   TCPA, Plaintiff and the other members of the putative Class were harmed and are

   3   each entitled to a minimum of $500.00 in damages for each violation. Plaintiff and

   4   the members of the Class are also entitled to an injunction against future calls. Id.

   5                                    COUNT II
              Knowing and/or Willful Violation of the TCPA, 47 U.S.C. § 227(b)
   6                      (On Behalf of Plaintiff and the Class)
   7         65.    Plaintiff re-alleges and incorporates the foregoing allegations as if fully
   8   set forth herein.
   9         66.    At all times relevant, Defendant knew or should have known that its
 10    conduct as alleged herein violated the TCPA.
 11          67.    Defendant knew that it did not have prior express consent to make
 12    these calls, and knew or should have known that its conduct was a violation of the
 13    TCPA.
 14          68.    Because Defendant knew or should have known that Plaintiff and
 15    Class Members had not given prior express consent to receive its autodialed calls,
 16    the Court should treble the amount of statutory damages available to Plaintiff and
 17    the other members of the putative Class pursuant to § 227(b)(3) of the TCPA.
 18          69.    As a result of Defendant’s violations, Plaintiff and the Class Members
 19    are entitled to an award of $1,500.00 in statutory damages, for each and every
 20    violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
 21                                   PRAYER FOR RELIEF
 22    WHEREFORE, Plaintiff, individually and on behalf of the Class, prays for the
 23    following relief:
 24                 a)     An order certifying this case as a class action on behalf of the
 25                        Class as defined above, and appointing Plaintiff as the
 26                        representative of the Class and Plaintiff’s counsel as Class
 27                        Counsel;
 28
                                               15
                                    CLASS ACTION COMPLAINT
Case 5:19-cv-02456-FMO-SP Document 1 Filed 12/20/19 Page 16 of 17 Page ID #:16



   1              b)   An award of actual and statutory damages for Plaintiff and each

   2                   member of the Class;

   3              c)   As a result of Defendant’s negligent violations of 47 U.S.C. §§

   4                   227, et seq., Plaintiff seeks for himself and each member of the

   5                   Class $500.00 in statutory damages for each and every violation

   6                   pursuant to 47 U.S.C. § 277(b)(3)(B);

   7              d)   As a result of Defendant’s knowing and/or willful violations of

   8                   47 U.S.C. §§ 227, et seq., Plaintiff seeks for himself and each

   9                   member of the Class treble damages, as provided by statute, up

 10                    to $1,500.00 for each and every violation pursuant to 47 U.S.C.

 11                    § 277(b)(3)(B) and § 277(b)(3)(C);

 12               e)   An order declaring that Defendant’s actions, as set out above,

 13                    violate the TCPA;

 14               f)   A declaratory judgment that Defendant’s telephone calling

 15                    equipment constitutes an automatic telephone dialing system

 16                    under the TCPA;
 17               g)   An injunction requiring Defendant to cease all unsolicited call
 18                    activity, and to otherwise protect the interests of the Class;
 19               h)   An injunction prohibiting Defendant from using, or contracting
 20                    the use of, an automatic telephone dialing system without
 21                    obtaining, recipient’s consent to receive calls made with such
 22                    equipment;
 23               i)   An award of reasonable attorneys’ fees and costs pursuant to,
 24                    inter alia, California Code of Civil Procedure § 1021.5; and
 25               j)   Such further and other relief as the Court deems necessary.
 26    //
 27    //
 28    //
                                           16
                                CLASS ACTION COMPLAINT
Case 5:19-cv-02456-FMO-SP Document 1 Filed 12/20/19 Page 17 of 17 Page ID #:17



   1                                   JURY DEMAND

   2         Plaintiff hereby demand a trial by jury.

   3
   4   Dated: December 20, 2019             Respectfully submitted,

   5
   6                                  By:     /s/ William Litvak
                                            William Litvak (SBN 90533)
   7                                        wlitvak@drllaw.com
   8                                        DAPEER ROSENBLIT LITVAK, LLP
                                            11500 W. Olympic Blvd. Suite 550
   9                                        Los Angeles, California 90064
 10                                         (t) (310) 477-5575

 11                                         IJH LAW
                                            Ignacio J. Hiraldo, Esq.
 12                                         (pro hac vice forthcoming)
 13                                         ijhiraldo@ijhlaw.com
                                            14 NE First Ave. 10th Floor
 14                                         Miami, FL 33132
                                            (t) (786) 351-8709
 15
 16
                                            SHAMIS & GENTILE, P.A.
                                            Garrett O. Berg, Esq.
 17                                         (pro hac vice forthcoming)
                                            gberg@shamisgentile.com
 18                                         14 NE 1st Avenue, Suite 1205
                                            Miami, Florida 33132
 19                                         (t) (305) 479-2299
 20                                         Attorneys for Plaintiff
 21
 22
 23
 24
 25
 26
 27
 28
                                             17
                                  CLASS ACTION COMPLAINT
